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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
             Plaintiff-Respondent,               §
                                                 §
VS.                                              §     CRIMINAL ACTION NO. H-96-116
                                                 §
KEVIN RANDLE,                                    §
                                                 §
               Defendant-Movant.                 §
                                                 §
(Civil No. H-01-1962)                            §

                                             ORDER

        Kevin Randle has filed a third request for sentence reduction. He requests immediate release

after serving what he calculates to be 14 years and 9 months based on a sentence reduction under

18 U.S.C. § 3582(c)(2). Randle is required to serve no less than 240 months, due to the mandatory

statutory minimum term of 20 years under 21 U.S.C. §§ 841(a)(1)(A) and 851. Although the

guideline imprisonment range has been reduced due to a recent amendment regarding cocaine base

offenses, a sentence reduction is not authorized by statute. The motion is denied.

               SIGNED on May 3, 2011, at Houston, Texas.

                                                     ______________________________________
                                                              Lee H. Rosenthal
                                                        United States District Judge
